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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                Case No.: 17-cv-60426-UU

  ALEKSEJ GUBAREV, XBT HOLDING S.A.,
  AND WEBZILLA, INC.,

        Plaintiffs,

  vs.

  BUZZFEED, INC. AND BEN SMITH,

    Defendants.
  ____________________________________/

                          DEFENDANTS’ MEMORANDUM OF LAW
                   IN OPPOSITION TO PLAINTIFFS’ DAUBERT MOTION TO
                 EXCLUDE THE EXPERT OPINIONS OF ANTHONY FERRANTE



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                                    PRELIMINARY STATEMENT
           Plaintiffs’ motion to exclude the expert opinions of Anthony Ferrante is exactly what
  Defendants have come to expect—a witty and superficial treatment of a complicated topic to
  distract this Court from the weakness of their position.
           And it is no wonder why. Anthony Ferrante—a former Director for Cyber Incident
  Response on the U.S. National Security Council, former Chief of the Staff of the FBI’s Cyber
  Division, and the current Global Head of Cybersecurity at FTI Consulting, Inc. (“FTI”)1—has
  found irrefutable technical evidence of something that Plaintiffs have denied since the Dossier’s
  publication: that their infrastructure was likely used by Russian cyber-espionage groups to attack
  Democratic party leadership. Specifically, he found that (1) the user who successfully duped
  John Podesta into disclosing his email password targeted Podesta from an IP address owned by
  an XBT subsidiary; (2) several command-and-control IP addresses used by the Russian cyber-
  espionage group FANCY BEAR in the hack of the Democratic National Committee shared a
  unique technical identifier with an IP address owned by the same subsidiary; (3) that unique
  technical identifier was also used in the cyber-attack on the German parliament and
  was affiliated with the same method of attack upon the Democratic party described in the
  indictment of 12 Russian nationals; and (4) 13 of the IP addresses identified in the US
  Government’s GRIZZLY STEPPE report on the Democratic hack belonged to that same XBT
  subsidiary. Moreover, Plaintiffs received hundreds of abuse alerts related to those IP addresses,
  but did little or nothing to investigate the malicious activity occurring on its infrastructure.
           In addition, Mr. Ferrante found evidence that XBT infrastructure was used for a massive
  botnet fraud called Methbot during the time the Dossier claims XBT affiliates were using botnets
  to conduct the Democratic hack. He further identified evidence that Russian cyber-espionage
  groups used XBT infrastructure in no fewer than 6 other malicious cyber-attacks since 2014. Id.
  at 16-17. He also concluded that XBT and its affiliates maintained an infrastructure that lent
  itself to such attacks, and that at the very least XBT did nothing to prevent the attacks. To put it
  bluntly, Mr. Ferrante’s found evidence of deep connections between XBT and malicious cyber-
  activity by Russian state cyber-actors, including those responsible for the Democratic hack.
           But Plaintiffs ask this Court to strike this evidence as irrelevant because, they claim,
  Mr. Ferrante did not definitively prove that Mr. Gubarev, or someone at his direction, personally

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      See Plaintiff’s Motion to Exclude Anthony Ferrante, Ex. 1 (“Ferrante Report” or “Report”) at 2.


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  sat behind a desk in Cyprus and clicked on a button to hack the Democratic leadership. Even
  more remarkably, they say it is irrelevant if “third parties” were “misusing” their infrastructure to
  try to hack Democrats, because Plaintiffs claim to be as pure as snow and knew nothing about it.
  Mot. at 6-8. That argument fails as a matter of law, for multiple reasons.
         First, defamation law allows defendants to offer evidence that an allegedly defamatory
  statement was substantially true. Contrary to Plaintiffs’ self-serving arguments, the Dossier does
  not purport to specify exactly how “entities linked” to Gubarev were involved in hacking
  Democrats, and Mr. Ferrante’s evidence of connections between XBT infrastructure and the
  Russian cyber-operatives who hacked Democrats—coupled with his opinion that XBT, at a
  minimum, turned a blind eye to these activities—are plainly relevant to a jury’s determination as
  to whether the statements are substantially true. Second, that Plaintiffs deny any knowledge of
  this activity is hardly dispositive, particularly given the many abuse alerts that Plaintiffs
  received. The fact that XBT infrastructure was in fact involved in the Democratic hack—
  notwithstanding Plaintiffs’ repeated and demonstrably false statements to the contrary—is classic
  circumstantial evidence challenging Plaintiffs’ credibility on that question. Third, Mr. Ferrante’s
  evidence supports Christopher Steele and his sources’ credibility, another key issue in
  dispute. Put simply, Mr. Ferrante’s evidence strongly suggests that Mr. Steele was onto
  something and that Plaintiffs were not included in the Dossier due to a mistake or commercial
  vendetta. Finally, Mr. Ferrante’s evidence regarding Methbot and other malicious cyber-activity
  is directly relevant to other issues in the case, including damages and the nature of Plaintiffs’
  reputation before the Dossier’s publication.
         Plaintiffs’ objections also “plainly go to the weight and sufficiency of [Mr. Ferrante’s]
  opinions rather than to their admissibility.” Maiz v. Virani, 253 F.3d 641, 669 (11th Cir.
  2001). Plaintiffs complain that Mr. Ferrante’s conclusions do not prove false their own self-
  serving reading of the Dossier and fault him for noting when the data “suggests” rather than
  unequivocally proves certain conclusions. But “it is not the role of the district court to make
  ultimate conclusions as to the persuasiveness of the proffered evidence.” Quiet Tech. DC–8, Inc.
  v. Hurel–Dubois UK Ltd., 326 F.3d 1333, 1341 (11th Cir. 2003). Instead, these arguments
  should be raised at trial through “[v]igorous cross-examination” and “presentation of contrary
  evidence.” Daubert v. Merrell Dow Pharms, Inc., 509 U.S. 579, 596 (1993).
         Finally, Plaintiffs provide no other basis to strike Mr. Ferrante’s opinion. Plaintiffs do



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  not challenge Mr. Ferrante’s qualifications as an expert, and they do not offer any basis to find
  that his methodologies are unreliable under Daubert and Kumho. As for Plaintiffs’ obsession
  with how much Mr. Ferrante was paid, they are free to raise that at trial too. But it should hardly
  come as a surprise that conducting a complex investigation about a subject that government
  authorities have already spent hundreds of millions of dollars investigating—and defending
  against Plaintiffs’ claim for damages totaling at least 40 times what Mr. Ferrante was paid—is an
  expensive undertaking. Accordingly, Plaintiffs’ Daubert motion should be denied.
                                    FACTUAL BACKGROUND
      A.    The Ferrante Report
           As his Report discloses, Mr. Ferrante conducted a technical investigation that involved
  reviewing available technical data related to the malicious cyberattacks on Democratic
  institutions during the 2016 election, as well as recent major cyberattacks the world-over, to
  determine whether there were any technical links between these attacks and XBT’s
  infrastructure, including IP addresses registered to XBT subsidiaries. See Report at 8
  (“Methodology”). Based on this methodology, Mr. Ferrante made several findings:
           An XBT IP address was used to stage a spear-phishing email aimed at Hillary
  Clinton campaign manager John Podesta. See Report at 11-14. The spear-phishing email that
  duped Mr. Podesta into disclosing his email password used a camouflaged hyperlink (a “bitlink”)
  generated through the service Bitly. Id.; Bolger Decl. Ex. 17 (Report Ex. 4) at 7. 2 Using data
  disclosed by Bitly (the “Bitly Data”), Mr. Ferrante determined that the same user account that
  successfully hacked Mr. Podesta created four nearly identical malicious links that were encoded
  to appear onscreen as a Google security alert prompting Mr. Podesta to change his Gmail
  password—and that one of those four phishing links was created using an IP address registered
  to XBT subsidiary Root S.A. (“Root”). Id.
           An XBT IP address shared a unique technical identifier with two of the IP addresses
  used to perpetrate the DNC hack. See Report at 14-15. Using technical data published by the
  security firm that investigated the DNC hack, Mr. Ferrante discovered that there were seven
  “command and control” IP addresses used in the DNC hack. Id. These IP addresses were able to
  control the botnets that invaded the DNC system. By reverse engineering pieces of malware

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   Unless indicated otherwise, all cited exhibits are annexed to the Declaration of Katherine M.
  Bolger in Support of Defendants’ Opposition filed herewith.


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  used in that botnet, Mr. Ferrante discovered that one of those IP address shared a Secure Socket
  Layer (“SSL”) certificate—a unique technical identifier—with two IP addresses owned by XBT
  subsidiary Root. Id. An SSL certificate is deliberately created by the administrator for a web
  server to facilitate encrypted communications and cannot be transferred to another owner without
  the original administrator managing it; this indicates that the Russian cyber-espionage group
  involved in hacking the DNC controls the SSL certificate. This SSL certificate was distributed
  to only 42 IP addresses, which included the two IP addresses used to hack the DNC as well as
  the Root IP address.3 Id.
         Plaintiffs characterize this evidence as exonerating them, Mot. at 7-10, and at Mr.
  Ferrante’s deposition, Plaintiffs asked him if the July 13, 2018 indictment of the 12 Russian
  nationals for hacking the DNC undercut his opinion that Plaintiffs had connections to the
  Democratic hack. Ex. 2 at 115:18-117:8. Mr. Ferrante testified that the indictment in fact
  strengthened his belief in Plaintiffs’ involvement because malware described in the indictment—
  the “X-Tunnel” and “X-Agent” malware used to infiltrate the DNC—employed the same SSL
  certificate. Ex. 2 at 116:10-117:1; see also Ex. 4 (July 13, 2018 Indictment).
         Thirteen XBT-linked IP addresses were included in a December 2016 U.S.
  government report (the “Grizzly Steppe Report”) identifying “indicators of compromise”
  used by Russian intelligence services to interfere in the 2016 election—and XBT did not
  bother to undertake even a minimal investigation until nearly nine months later. See
  Report at 15-17. XBT does not dispute that 13 IP addresses belonging to their subsidiary Root
  are listed on the Grizzly Steppe Report. Mot. 10-12. They do dispute, however, that the Russian
  government hacked the DNC, see Ex. 5 (Deposition of Nikolay Dvas) at 281:6-282:23, Ex. 6
  (Deposition of Kostyantyn Bezruchenko) at 251:5-253:22, and Ex. 7 (April 30 2018 Deposition
  of Aleksej Gubarev) at 238:3-238:5, and Mr. Goederich joked with the Luxembourg authorities
  about Grizzly Steppe, such as “Do you believe everything the Americans might say?” Ex. 8
  (Deposition of Marc Goederich) at 185:4-187:11 and Ex. 9 (Goederich Dep. Exs. 19A, 19B).
  Unsurprisingly, when Mr. Ferrante reviewed documentation and testimony produced in this
  action to assess XBT’s response to the report’s identification of the Root IP addresses, he

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    As Mr. Ferrante testified at his deposition, the data further indicates that another one of the 42
  IP addresses in this group was used to perpetrate a major cyberattack on the German parliament
  in 2015, which German intelligence attributed to Fancy Bear. See Ex. 2 (Deposition of Anthony
  J. Ferrante) at 101:5-21 and Ex. 3 (May 13, 2016 Article for BBC News).


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  concluded the response was wholly inadequate. He did so because:
          1.     When Luxembourg authorities asked Root about the IP addresses in January
  2017, Mr. Goederich made jokes, Ex. 9, and did only the most cursory investigation. Report at
  30-31. Mr. Goederich did not even bother to tell XBT that the IP addresses were on the report.
  Id. at 31.
          2.     XBT did not directly inquire with Root about the IP addresses in the Grizzly
  Steppe Report until September 2017, nine months after the report’s publication and after
  Defendants’ counsel had identified Root in this lawsuit. Ex. 7 at 214:6-24; Ex. 6 at 257:5-262:3;
  Ex. 10 (April 2018 Gubarev Dep. Ex. INT-2). Only then, in September 2017, did XBT
  undertake any substantive investigation. It showed hundreds of abuse notifications on those IP
  addresses. Mr. Ferrante determined that at least two of the 13 IP addresses were used by XBT
  customer King Servers, a Russia-based company known for attempting to infiltrate U.S. state
  election boards. Report at 17. Based on the information produced here and his experience, Mr.
  Ferrante opined that XBT undertook “minimal, if any internal investigation . . . into the IP
  addresses noted on the Grizzly Steppe Report on a timely basis,” and that its failure to do so was
  “highly unusual” within the industry. Id. at 17.
          A significant portion of servers belonging to two XBT subsidiaries were part of a
  massive botnet operated by Russian criminals—the “Methbot” advertising fraud scheme.
  See Report at 17-22. On December 20, 2016, the security firm WhiteOps published a report
  revealing a massive fraud run by Russian cybercriminals, which it called “the largest and most
  profitable advertising fraud operation to strike digital advertising to date.” Id. at 17-18. Using
  the indicators of compromise (IOCs) published by White Ops, Mr. Ferrante discovered that as
  many of 74% of the IP addresses associated with WZ Communications, Inc. and 78% of the IP
  addresses associated with Servers.com (both subsidiaries of XBT) may have been part of
  Methbot, and in particular that XBT-linked IP addresses were part of the botnet’s aggressive
  expansion in September and October 2016. Id. at 18, 20-21. Within days after the Methbot
  fraud was made public, technical data shows that XBT manually withdrew these IP addresses.
  Id. at 21.4 From documents produced here, Mr. Ferrante determined that XBT’s anticipated loss


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    Plaintiffs’ internal documents show that when they learned about the WhiteOps report, they did
  not reach out to law enforcement but instead hired a PR firm for “crisis communications” to try
  to spin the story. Ex. 7 at 200:6-201:22; Ex. 5 at 185:20-190:18, 199:10-201:3, 275:20-276:11;


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  from terminating the Methbot customer amounted to 4-5% of XBT’s total revenue for 2016 and
  noted that Gubarev claimed this significant customer had operated without a contract. Id. at 21-
  22. Based upon his industry experience, Mr. Ferrante opined that it would be “highly unusual
  and risky business practice” for a company like XBT to provide services without a signed
  contract, particularly to such a significant customer. Id. Mr. Ferrante further opined that XBT’s
  response to Methbot—including its decisions to manually unpublish the implicated IP addresses
  and not contact law enforcement—was “extremely suspicious.” Ex. 2 at 120:10-121:7.
         XBT-owned infrastructure has been repeatedly used to support malicious cyber-
  campaigns tied to Russian state actors as well as other high-profile cyber-attacks on critical
  infrastructure worldwide. See Report at 22-28. Using available data, Mr. Ferrante found that
  IP addresses owned by XBT subsidiaries were used as command-and-control servers in at least a
  dozen major cyber-attacks by Russian state actors, including the 2015 attack on the Ukrainian
  power grid. Id. As Mr. Ferrante testified, these attacks were among “the most significant cyber-
  events to take place on the globe” in recent history. Ex. 2 at 140:9-21.
         XBT does not follow industry best practices to monitor its infrastructure or prevent
  malicious cyber-activity. See Report at 28-31. Mr. Ferrante reviewed the depositions of XBT’s
  CTO Konstyantin Bezruchenko and Root’s Managing Director Marc Goederich, and identified
  numerous areas where XBT and Root did not follow best practices and where their procedures
  were “inadequate” compared to others in the industry. Id. at 29.
         XBT subsidiaries and some of their web-hosting customers are repeatedly cited in
  public reports as known hosts of malicious cyber-activity. See Report at 31-35. Mr. Ferrante
  reviewed public sources and discovered that an industry publication Host Exploit has repeatedly
  named several Webzilla subsidiaries of XBT in the “Top 50 Bad Hosts and Networks.” Id. at
  33-35. Further, in reviewing XBT’s technical infrastructure, Mr. Ferrante determined that
  XBT’s customers included other web-hosting companies, some of whom were publicly linked to
  malicious cyber-activity. Report at 31-33.
                                            ARGUMENT
         In determining the admissibility of expert testimony pursuant to Fed. R. Evid. 702, the

  Ex. 11 (Dvas Dep. Ex. 63). Plaintiffs admitted that the customer responsible for the Methbot
  fraud was a major client who Gubarev and other executives met personally—and yet despite
  being the source for millions of dollars in revenue, Gubarev claimed that they forgot to have him
  sign a contract. Ex. 7 at 169:5-178:1.


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  Court must consider whether:
          (1) the expert is qualified to testify competently regarding the matters he intends
          to address;
          (2) the methodology by which the expert reaches his conclusions is sufficiently
          reliable as determined by the sort of inquiry mandated in Daubert; and
          (3) the testimony assists the trier of fact, through the application of scientific,
          technical, or specialized expertise, to understand the evidence or to determine a
          fact in issue.
  United States v. Frazier, 387 F.3d 1244, 1260 (11th Cir. 2004). “While there is inevitably some
  overlap among the basic requirements—qualification, reliability, and helpfulness—they remain
  distinct concepts and the courts must take care not to conflate them.” Id..
          The Court’s focus in a Daubert motion “must be solely on principles and methodology,
  not on the conclusions they generate.” Daubert, 509 U.S. at 595. “[I]t is not the role of the
  district court to make ultimate conclusions as to the persuasiveness of the proffered
  evidence.” Quiet Tech. DC–8, 326 F.3d at 1341. Accordingly, a party’s “challenges to
  the weight and sufficiency” of expert testimony “are not properly raised under Daubert.”
  Walters v. Altec Indus., Inc., 2003 WL 25686829, at *2 (M.D. Fla. Sept. 3, 2003) (burden “is not
  to prove that the proffered opinions are correct, but that by a preponderance of the evidence they
  are reliable and relevant”).
  I.      MR. FERRANTE’S TESTIMONY IS RELEVANT AND HELPFUL
          A.      Mr Ferrante’s Testimony Is Relevant
          Taking the Frazier test in reverse order, it is clear that Mr. Ferrante’s testimony is
  relevant to whether Plaintiffs can prove that the Dossier is materially false and to their measure
  of damages. Expert evidence is relevant if it “logically advances a material aspect of the
  proposing party’s case.” Allison v. McGhan Med. Corp., 184 F.3d 1300, 1312 (11th Cir. 1999)
  (citation omitted). There is no question that Mr. Ferrante serves this purpose.
                  1.      Mr. Ferrante’s Testimony Is Relevant To Material Falsity
          The Dossier includes the statement that “a company called XBT/Webzilla and its
  affiliates had been using botnets and porn traffic . . . to steal data . . . [from] the Democratic Party
  leadership. Entities linked to one Aleksei Gubarov were involved . . . .” Ex. 1 (Dossier). The
  day after the Dossier was published, XBT released a statement, which included the following:
          Online publication Buzzfeed published an unsubstantiated report on Tuesday,
          January 10, that alleged that Webzilla, its parent company XBT Holding and their
          representatives were connected to the emails leaked from the Democratic Party in


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         the United States. Webzilla and XBT Holding absolutely deny having had any
         connection with this activity.
         There has been absolutely no involvement by Webzilla, XBT or any of its other
         subsidiaries with the people or alleged activities in this unsubstantiated report.

  Ex. 12 (Jan. 12, 2017 XBT Statement). Mr. Ferrante’s investigation, however, concluded that, to
  use the words of the Dossier, “entities linked” to Gubarev likely were “involved” in Russian
  efforts to “steal data” from “the Democratic Party leadership,” through a specific “affiliate” of
  “XBT/Webzilla.” Report at 36. Mr. Ferrante’s evidence likewise indicates that the public
  statement XBT released in response to the Dossier was false, because XBT did have some
  “connection with this activity” and there was some “involvement by subsidiaries with the people
  or alleged activities” discussed in the Dosser. It is an insult to common sense to suggest that
  such testimony is irrelevant to the jury’s assessment of whether the Dossier’s allegations against
  Plaintiffs were materially false. And it certainly has no basis in defamation law.
         Plaintiffs “bear the burden of showing that the speech at issue is false.” Philadelphia
  Newspapers, Inc. v. Hepps, 475 U.S. 767, 777 (1986).        But “[t]he alleged false statement does
  not have to be ‘perfectly accurate’ if the ‘gist’ or the ‘sting’ of the statement is true.” Turner v.
  Wells, 198 F. Supp. 3d 1355, 1365 (S.D. Fla. 2016) (citation omitted), aff’d, 879 F.3d 1254 (11th
  Cir. 2018); see also Hon. Robert D. Sack, SACK ON DEFAMATION, LIBEL, SLANDER AND RELATED
  PROBLEMS, § 3.7 (2006) (“The proof of truth or falsity must go to the ‘gist’ or ‘sting’ of the
  defamation”). Thus, defendants are entitled to prevail in defamation actions when they can show
  that the statement at issue is substantially true—even if not accurate in every detail. See Printers
  II, Inc. v. Prof’ls Publ’g, Inc., 784 F.2d 141, 146-47 (2d Cir. 1986); Vetere v. Associated Press,
  Inc., 1989 WL 39664 (S.D.N.Y. Apr. 17, 1989) (statement that plaintiff is “a former member of
  the American Nazi Party” substantially true even though he “denies that he was ever a member
  of the American Nazi Party” because he distributed literature on behalf of National Socialist
  White People’s Party and participated in one of their marches); Miller v. Journal-News, 211
  A.D.2d 626 (N.Y. App. Div. 1995) (statement that plaintiff was suspended was substantially true
  even though he was only placed on administrative leave); Weber v. Multimedia Entm’t, Inc.,
  2000 WL 526726, at *10 (S.D.N.Y. May 2, 2000) (description of plaintiff as drug addict was
  substantially true because plaintiff “admits to having used cocaine and marijuana, and possibly
  amphetamines, albeit some years before the taping of the Program”). A “statement is not
  considered false unless it would have a different effect on the mind of the reader from that which


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   the pleaded truth would have produced.” Masson v. New Yorker Magazine, 501 U.S. 496, 517
   (1991) (citation and internal quotation marks omitted). And in this case, whether “as a whole”
   the statement at issue in the Dossier “is substantially true is an issue for the jury.” Klayman v.
   Judicial Watch, Inc., 22 F. Supp. 3d 1240, 1254 (S.D. Fla. 2014). Thus, Mr. Ferrante’s
   testimony is highly relevant because Defendants are entitled to argue to the jury that if the
   Dossier had simply recounted the facts as Mr. Ferrante will testify to them, it would not have had
   a materially different effect on the minds of the readers than the words Christopher Steele
   actually used.
          Mr. Ferrante concludes that the technical links he identified between XBT infrastructure
   and Russian interference in the 2016 election—via the Bitly data from the Podesta spear-
   phishing attack, the SSL certificate linked to the DNC hack, and the U.S. government’s Grizzly
   Steppe report listing Russian IOCs involved in the election interference—are evidence that
   servers belonging to an “entity linked” to Gubarev, i.e., Root, an “affiliate” of “XBT/Webzilla,”
   were involved in malicious cyber-operations aimed at “Democratic Party leadership”, as the
   Dossier alleges. Moreover, Mr. Ferrante will testify that XBT “does not have an adequate
   enterprise infrastructure monitoring process in place . . . which allows their infrastructure to be
   used without fear of repercussions,” Report at 7, and that “it would be highly unusual not to
   conduct an investigation into infrastructure components noted in government reports as
   propagating malicious activity, if the operators were concerned about running a lawful,
   legitimate service.” Id. at 17. Mr. Ferrante also concluded that vast numbers of servers
   belonging to other “entities linked” to Gubarev and “XBT/Webzilla” were being used in a large-
   scale, Russian-operated botnet operation (Methbot) at the same time. Id. at 17-22. That
   testimony suggests that at best Plaintiffs turned a blind eye toward Russian state actors who used
   their infrastructure and thus were not innocent bystanders to the conduct alleged in the Dossier.
          Nonetheless, Plaintiffs claim that Mr. Ferrante’s testimony is irrelevant because it does
   not “accuse the plaintiffs of directly hacking the Democratic Party leadership under pressure
   from the FSB.” See Mot. at 6. Remarkably, they all but concede that Mr. Ferrante’s evidence
   could support the conclusion that their infrastructure was used as part of an effort to hack the
   DNC by Russian, state-sponsored actors. But they maintain that does not matter, because they
   maintain “[t]he December Memo says nothing about Plaintiffs’ infrastructure being misused by
   third parties (clients or otherwise) to hack the Democratic Party leadership.” Id. at 6.



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          That is sheer sophistry. The Dossier does not purport to specify exactly how “entities
   linked” Gubarev were “involved” in malicious cyber-activity. It certainly does not insist that
   Gubarev was sitting at his desk in Cyprus personally conducting or directing the hacking while
   an FSB agent was looking over his shoulder. Plaintiffs are free to argue to the jury they should
   interpret the Dossier that way, but how to interpret what the Dossier alleges is the jury’s
   province, not something to be dictated by Plaintiffs. See Defendants’ Motion In Limine No. 9.
   Mr. Ferrante’s evidence supports the proposition that Plaintiffs knew their infrastructure was
   being misused by Russian state (and non-state) actors and turned a blind eye to that activity. If
   the jury credits that position, it could reasonably conclude that that “gist or sting” of the Dossier
   does not materially “differ[] from the actual truth.” Klayman, 22 F.Supp.3d at 1254.
          That is especially so because Plaintiffs have spent the last two years denying that any
   election-related hacking activity was conducted from their infrastructure by anyone, period.
   XBT’s public statement on January 12, 2017 claimed “absolutely no involvement” with the
   “alleged activities” in the Dossier. Ex. 12. But the only evidence Plaintiffs have ever offered to
   support that is their own self-serving ipse dixits and an expert opinion based entirely on self-
   serving ipse dixits.5 XBT executives admitted at their depositions that XBT and Webzilla did not
   perform any internal investigation into whether their network had been used for malicious cyber-
   activity after finding themselves named in the Dossier; instead, they simply asserted that they
   “knew” it was not true.6 See, e.g., Ex. 6 at 302:25-303:6 (“Q. You’re saying it is because I say it
   is . . . why are you so sure you didn’t do it? A. Because we didn’t do it. It’s—it’s that simple.


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     The only document produced in discovery that remotely approaches an investigation into the
   allegations in the Dossier is a two-page cursory memo titled “Internal Investigation Report on
   BuzzFeed Publication,” whose metadata indicates that it was created in September 2017—more
   than eight months after the Dossier was published and well into the discovery period in this
   litigation. Ex. 13 (Bezruchenko Dep. Ex. 21). That document notes the limits of the
   “investigation,” including that XBT only maintained certain historical logs for 3 months. Id.
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      Notably, the public relations consultants that Plaintiffs worked with thought it important to
   determine whether they could be sure no such activity was occurring on their networks. The day
   after the Dossier was published, Plaintiffs’ PR representative in the U.S. asked Gubarev to
   “[p]lease be absolutely certain that none of your servers were in anyway involved—even
   innocently.” Ex. 15 (Dvas Dep. Ex. 82). Similarly, Plaintiffs’ public relations consultant in the
   Netherlands, Hill & Knowlton, advised Plaintiffs to be prepared to address whether their “[o]wn
   internal investigation” indeed “rule[d] out” or “produced no indication” of any hacking or abuse
   of their systems. Ex. 16 (Steman Dep. Ex. 10). But no investigation took place.



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   We didn’t do it.”); Ex. 5 at 279:15-281:5 (“Q. To this day, are you absolutely certain that no
   server connected to any subsidiary of XBT was ever used in any attempt to hack Democrats in
   the United States? A. I'm certain. Q. And on what basis are you certain? A. Just I’m -- I'm
   positive. That’s it.”); Ex. 7 at 53:7-17 (“Q. [W]hat investigation did you do into the servers
   owned by XBT or any of its subsidiaries to see if it was involved in any hacking activity in the
   democratic party? A. . . . I know we didn’t do it . . . I don’t have to do any investigation against
   me personally. I don’t do it.”); Ex. 8 at 244:2-6 (“Q. [W]ere you concerned that maybe some
   portion of XBT or Webzilla was involved in some kind of malicious activity? A. No, I did not
   think about it any further at the moment.”); Ex. 14 (Deposition of Jochem Steman) at 79:9- 82:20
   (“Q: Sitting here today, do you believe the allegations are true? A: No. Q: How do you know? A:
   Because I know.”).
           Now faced with persuasive evidence that their servers were involved, Plaintiffs have
   changed their story and the nature of their ipse dixits. They now concede there might have been
   efforts to hack Democrats from their infrastructure, but they claim that it must have been the
   work of some mysterious third party “customer” they knew nothing about. Mot. at 9-10, 12-13.
   They offer no evidence to support that assertion, but rather just demand that this Court “take
   their word for it.” Report at 11. But that is a credibility question for the jury to decide; the Court
   is certainly not required to credit Plaintiffs every time they come up with a new, self-serving
   story in response to expert testimony whose substance they do not contest. To the contrary, the
   jury is entitled to consider whether Mr. Ferrante’s evidence, Plaintiffs’ shifting explanations, and
   other evidence in the case support the conclusion that Plaintiffs’ protestations of innocence lack
   credibility. See City of St. Petersburg, 2009 WL 3335013, at *4; Walters, 2003 WL 25686829,
   at *3; see also Klayman, 22 F.Supp.3d at 1254.
          For example in Wells v. Liddy, the plaintiff, a secretary who worked in the DNC office
   that was the target of the Watergate break-in, sued Gordon Liddy for saying she was involved in
   a call-girl ring. 37 F. App’x 53, 55 (4th Cir. 2002). The court admitted evidence that there was
   prostitution in a building with which Wells was affiliated because it was evidence of substantial
   truth. Wells, 37 F. App’x at 60-61. The Fourth Circuit concluded the admission of this evidence
   was proper because “evidence that a prostitution ring was operating at the Columbia Plaza is
   only one piece of circumstantial evidence that Liddy presents in an attempt to draw the
   conclusion that Wells was connected with the prostitution ring. It is a well-settled principle that



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   “circumstantial evidence is no less probative than direct evidence.” Wells, 37 F. App’x at 68 n.9
   (citation omitted); see also Galaxy Computer Servs., Inc. v. Baker, 325 B.R. 544, 563 (E.D. Va.
   2005) (denying motion to exclude computer expert who could testify that files at issue “were
   deleted or altered sometime after June 19, 2003” but could not “specify who deleted the data
   from the hard drives or when the data was deleted”). Here as well, Mr. Ferrante offers important
   evidence, both direct and circumstantial, that is relevant to establishing the substantial truth of
   the allegedly defamatory statement however the jury may construe it.
                  2.      Mr. Ferrante’s Evidence Supports That Defendants
                          Reasonably Published Christopher Steele’s Allegations
          Mr. Ferrante’s evidence also supports Christopher Steele and his sources’ credibility,
   another key issue in dispute. Whatever the standard of fault in this case, Plaintiffs will argue that
   it was irresponsible of Defendants to publish unverified allegations made by Mr. Steele and
   based on Steele’s sources. Mot. at 4-5. But Mr. Ferrante’s evidence demonstrates that there was
   good reason for Mr. Steele’s sources to identify Plaintiffs as among the (but certainly not the
   only) actors involved in the Russian-sponsored operation to interfere in the U.S. election, and
   that it was thus not irresponsible of Defendants to view Mr. Steele as a highly credible source.
                  3.      Mr. Ferrante’s Testimony Is Relevant to Damages
          Finally, Mr. Ferrante’s testimony is also relevant to the issue of damages. As explained
   more fully in Defendants’ motion to exclude Jeffrey Anderson (Dkt. 260), after Defendants
   raised the Methbot scheme during the depositions of XBT executives, Plaintiffs’ damages expert
   hastily revised his estimate to “back out” millions of dollars in revenue attributable to the
   customer responsible for the fraud. Plaintiffs have thus conceded that Methbot is directly
   relevant to whether their alleged damages were caused by the Dossier or other factors.
          Regardless of whether Mr. Anderson is permitted to testify, Plaintiffs will presumably try
   to offer some theory of actual damages, as their trial exhibits indicate.7 If the Court permits that,
   Defendants will be entitled to challenge their claims and point out the Methbot-related revenues
   as a distinct (and illegitimate) contributor to XBT’s revenue growth in 2016. Mr. Ferrante’s
   expert testimony will help explain to the jury what Methbot is and Plaintiffs’ role in the botnet
   fraud, which will help the jury’s assessment of Methbot’s impact on Plaintiffs’ reputation and
   claimed damages.
   7
    As set forth in Defendants’ Motion in Limine No. 7, Defendants object to any attempts by
   Plaintiffs to use a theory of damages not disclosed in discovery.


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          Mr. Ferrante’s testimony about XBT’s repeated involvement in major malicious cyber-
   operations (Report at 22-28) and its publicly documented reputation related to malicious cyber-
   activity (Report at 31-35) are also highly relevant to damages. Courts have long recognized that,
   even if a defendant’s statements are false, a plaintiff’s other disreputable conduct mitigates
   damages because a defendant can show that “if [the defendant] had printed the truth about [the
   plaintiff], his reputation would have been tarnished.” Lawlor v. Gallagher Presidents’ Report,
   Inc., 394 F. Supp. 721, 734 n.26 (S.D.N.Y. 1975), remanded without opinion, 538 F.2d 311 (2d
   Cir. 1976); see also Condit v. Dunne, 225 F.R.D. 100, 110 n.4 (S.D.N.Y. 2004) (plaintiff’s
   previously unreported sexual relationships relevant to mitigation of damages because “both
   publicly available information and Condit's private actions could have contributed to Condit's
   alleged reputation damage”); Crane v. N.Y. World Telegram Corp., 308 N.Y. 470, 476 (1955)
   (“Well settled is the basic rule that the amount of plaintiff’s recovery may be reduced by proof of
   facts ‘tending but failing to prove the truth’ of the libel’s charge.”) (citation omitted). “In an
   action for defamation or libel … the issue of the plaintiff’s reputation and character scarcely can
   be avoided because the plaintiff typically seeks to recover compensation for damage to his or her
   reputation.”; Schafer v. Time, Inc., 142 F.3d 1361, 1370 (11th Cir. 1998) (holding that evidence
   regarding specific instances of misconduct by plaintiff are admissible in libel case under Fed. R.
   Evid. 405(b)). It is also well-established that defendants in a defamation action may offer
   evidence of pre-existing information critical of Plaintiffs. See Guccione v. Hustler Magazine,
   Inc., 800 F.2d 298, 303 (2d Cir.1986) (allowing evidence of public knowledge of plaintiff’s prior
   bad acts on the question of substantial truth and damages). In their motion to exclude, Plaintiffs
   object to the reliability of the sources that Mr. Ferrante surveyed. See Mot. at 2-3, 12. But
   Plaintiffs’ belief that the sources are not credible is a topic for cross-examination, not a basis to
   exclude. Mr. Ferrante’s testimony is, therefore, certainly relevant to this proceeding.
          B.      Mr. Ferrante’s Testimony Will Help Explain Complex Concepts for the Jury
          Finally, Mr. Ferrante’s testimony will be helpful to the jury because this case involves
   complex technical concepts, including web-hosting, IP addresses, hacking, botnets, and technical
   indicators of compromise. Expert testimony is appropriate where it “would doubtless assist the
   jury in understanding the concepts and issues of this case.” Remington v. Newbridge Secs.
   Corp., 2014 WL 505153, at *3 (S.D. Fla. Feb. 7, 2014) (holding expert’s testimony would assist
   the jury “given the highly technical nature” of issues in the case); see also Palm Beach Golf Ctr.-



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   Boca, Inc. v. Sarris, 2016 WL 4154912, at *2 (S.D. Fla. May 24, 2016) (holding expert
   testimony was necessary where the dispute’s issues where “arcane and inaccessible even to many
   legal professionals not versed in the subject”). Here, Plaintiffs’ fact witnesses have some fluency
   in these topics by nature of their profession, but Defendants will need to rely on Mr. Ferrante to
   offer direct testimony to explain these terms and concepts, to contextualize Defendants’ cross-
   examination of Plaintiffs’ witnesses, and to provide a foundation for Defendants’ arguments to
   the jury. And given that Mr. Ferrante was a university professor with more than 10 years’
   experience investigating cybercrimes, he is perfectly suited to provide that testimony. Because
   Mr. Ferrante’s testimony would be relevant and helpful, he should be permitted to testify at trial.

   II.       MR. FERRANTE’S TESTIMONY IS RELIABLE
             A. Plaintiffs Do Not Challenge the Methodology of Mr. Ferrante’s Technical
                Investigation
             As an initial matter, and perhaps most tellingly, nowhere in their Daubert motion do
   Plaintiffs challenge Mr. Ferrante’s methodology, as detailed in his Report. As a matter of law,
   Daubert motions must challenge the expert witness’ methodology not the weight and sufficiency
   of his conclusions. Walters, 2003 WL 25686829, at *3.8 See also City of St. Petersburg v. Total
   Containment, Inc., 2009 WL 3335013, at *4 (S.D. Fla. Mar. 19, 2009). And here, Plaintiffs do
   not challenge:
         •   Mr. Ferrante’s methods for identifying the infrastructure of IP addresses that have
             historically been registered to XBT subsidiaries (Report at 9-11). Tellingly, Plaintiffs
             also do not dispute that the specific IP addresses Mr. Ferrante identifies as linked to
             various malicious cyber-activity in his Report were, in fact, registered to the identified
             XBT subsidiaries (Report at 10, 14, 15, 22, 24);
         •   Mr. Ferrante’s methodology for analyzing the Bitly data, identifying the four bitlinks
             designed to look like custom Google security pages for Clinton campaign manager John
             Podesta, translating the encoded URLs, and identifying one of these four bitlinks as
             having been created with a Root IP address (Report at 11-13);
         •   Mr. Ferrante’s methodology for identifying an SSL certificate shared by a Root IP
             address and two of the “command and control” IP addresses involved in the DNC hack
             (Report at 14-15); and
         •   Mr. Ferrante’s methodology for linking XBT infrastructure to Methbot.
             Plaintiffs also do not (and cannot) dispute that IP addresses belonging to XBT subsidiary
   Root were listed in the U.S. Government’s Grizzly Steppe report relating to Russian interference

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       In fact, Mr. Ferrante’s findings are also highly relevant, as explained in Section III infra.


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   in the 2016 election (Report at 15-17); that IP addresses belonging to XBT subsidiaries were
   identified by security researchers among “indicators of compromise” relating to multiple other
   major cyberattacks, many of which were publicly linked to Russian state actors (Report at 22-
   28); and that XBT subsidiaries and customers have been publicly linked to malicious
   cyberactivity, including the hosting of botnets (Report at 31-35). Nor do Plaintiffs dispute the
   accuracy of the testimony attributed to Konstyantin Bezruchenko and Marc Goederich, or
   provide any basis to doubt the reliability of Mr. Ferrante’s assessments of XBT’s practices and
   procedures as compared to industry best practices. Report at 29-31.
          In fact, Plaintiffs have no substantive response whatsoever to the findings from Mr.
   Ferrante’s technical investigation regarding the Bitly link in the Podesta email, Ex. 17 (Report
   Ex. 4) at 7. Their own rebuttal expert, Dr. Eric Cole, admitted that he did not even review the
   data produced by Bitly and did not otherwise attempt to replicate any of Mr. Ferrante’s technical
   analysis. Dkt. 259-3 (Deposition of Eric Cole) at 12:1-13:6, 15:1-17:9; 33:14-43:11; 50:12-51:5,
   116:23-117:13, 131:18-133:4. Neither Dr. Cole’s report nor Plaintiffs’ Daubert motion even
   mentions the SSL certificate finding; instead, Plaintiffs simply assert that nothing other than a
   one-to-one match between the command-and-control IP addresses identified in investigations to
   date and IP addresses assigned to XBT is relevant. Mot. at 7-8. Because Plaintiffs did not
   challenge Defendants’ methodology, therefore, there motion to exclude should be denied.
          B. Mr. Ferrante’s Opinions Are Not “Unreliable”
          Lacking any basis on which to challenge Mr. Ferrante’s methodologies, Plaintiffs instead
   try to argue that various data Mr. Ferrante examined is “unreliable” for four reasons, each of
   which is unconvincing. First, Plaintiffs claim it is unreliable because it came from reports
   published by governments and other security firms or from third parties other than the Plaintiffs.9
   But “[e]xperts routinely rely on the work of others, a practice permitted by Fed.R.Evid. 703, so
   long as the facts or data on which they rely is of the type reasonably relied on by experts in the
   relevant field.” City of St. Petersburg, 2009 WL 3335013, at *4; see also U.S. Gypsum Co. v.
   Lafarge N. Am. Inc., 670 F. Supp. 2d 768, 775 (N.D. Ill. 2009) (“That Florez mentions other
   facts in evidence in his reports—facts that a competent investigator would no doubt regularly


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     Plaintiffs refused to produce the vast majority of the technical log data that Defendants
   requested, claiming that the company did not maintain such logs. See Ex. 18 (October 2017
   Emails Between Plaintiffs’ and Defendants’ Counsel).


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   rely on for context in the field—is not a basis to exclude his testimony.”). As Mr. Ferrante
   explained in his Report and at his deposition, it is “a common industry investigative technique”
   to rely on repositories of IOCs and other data published by third parties, including threat
   intelligence reports by governments and cybersecurity firms. Ex. 2 at 122:20-123:4; see also
   Report at 9 n.5 (explaining that “[c]ybersecurity experts, including myself, regularly rely on this
   information in our work”). Plaintiffs do not dispute that this is common investigative practice,
   nor does Plaintiffs’ rebuttal expert: indeed Mr. Cole copies and pastes two third-party articles in
   their entirety into his report. Dkt. 259-2 at 12-15. Similarly, the Bitly data relied on by Mr.
   Ferrante was produced in response to a subpoena in this action and contain the bitlinks created
   by the Bitly account (john356gh) responsible for creating the phishing email that successfully
   compromised John Podesta’s email account. Ex. 19 (Declaration of Mark Josephson, CEO of
   Bitly, Inc). Plaintiffs never sought to depose Bitly and there is no reason to doubt that this data
   is reliable.10 Nor is there any basis for Plaintiff to challenge the authenticity of the actual
   phishing email from Podesta’s account that was publicly released by Wikileaks because it links
   directly to the Bitly data.11 Report at 8. Accordingly, Plaintiff’s claim that Mr. Ferrante is
   relying on data that is “anonymous and unsubstantiated” is simply incorrect.
          Second, Plaintiffs incorrectly argue that Mr. Ferrante’s analysis of this data is “rank
   speculation.” Mot. at 8-9.12 To the contrary, Mr. Ferrante meticulously explained the basis for

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      Nearly two months after Mr. Ferrante’s report was served, Special Counsel Robert Mueller
   indicted 12 Russian intelligence officials for election-related hacking. The indictment
   specifically identifies the account “john356gh” at a “URL-shortening service” (i.e., Bitly) as
   being used to send a spear-phishing email to “the chairman of the Clinton Campaign” (i.e.,
   Podesta), resulting in the theft of his emails and their release by “Organization 1” (i.e.,
   Wikileaks). Ex. 4 ¶¶ 21(a), 49. The details in the indictment line up with the phishing email
   released by Wikileaks and cited in Mr. Ferrante’s report. Compare Ex. 17 at 7 with Ex. 4 ¶ 21
   (a).
   11
      The bitlink visible in the Wikileaks email is consistent with line 6047 of the Bitly Data, which
   is the basis for Mr. Ferrante’s technical analysis. (Defendants have not attached as an exhibit the
   full data set because the file is voluminous. It was attached as Exhibit 5 to the Ferrante Report
   and was produced in native format by Bitly. Defendants can provide the native version at the
   request of the Court.)
   12
      The cases cited by Plaintiff are inapposite. In Affiliati Network, Inc. v. Wanamaker, No. 1:16-
   cv-24097-UU, 2017 WL 7361048 (S.D. Fla. Aug. 14, 2017), the court excluded an expert who
   relied solely on anonymous online complaints and ratings to conclude an ultimate issue in the
   case: whether the defendant had caused damage to the plaintiff’s reputation. Id. at *9. Similarly,
   in Bowe v. Pub. Storage, No. 1:14-cv-21559-UU, 2015 WL 10857339 (S.D. Fla. June 2, 2015),


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   his opinions, documented the technical evidence that he found, and noted the limits of his
   information where applicable. Plaintiffs are again really just criticizing Mr. Ferrante’s evidence
   for being circumstantial, but as noted above, that is no basis for excluding it. See, e.g., City of
   Tuscaloosa v. Harcros Chems., Inc., 158 F.3d 548, 565 (11th Cir. 1998). Most importantly,
   Mr. Ferrante’s opinions—in direct contrast to those offered by Plaintiffs’ rebuttal expert, Dr. Eric
   Cole13—do not invade the province of the jury by offering definitive assertions of whether the
   statements in the Dossier are “true” or “false,” or whether they are “defamatory.”
          Third, Plaintiffs claim that because Mr. Ferrante describes the evidence as “suggesting”
   certain conclusions, that means his opinions are “speculation” and unreliable. That is not
   remotely the case. “[A]bsolute certainty is not required” of an expert. Jones v. Otis Elevator
   Co., 861 F.2d 655, 662 (11th Cir. 1988); see also United States v. Barnes, 481 F. App’x 505, 514
   (11th Cir. 2012) (affirming admission of experts who testified that hair and footprints found at
   scene were “consistent with” and “corresponded” to defendant and “could have” come from
   him). As Mr. Ferrante explained to Plaintiffs’ counsel at his deposition:
          I think you’re oversimplifying complex cyber investigations. They’re not binary.·
          They’re not black and white.· And what we’ve done is collect substantial
          evidence that most certainly links XBT to the described malicious activity.
   Ex. 2 (Ferrante Dep.) at 61:16-21. Unlike Dr. Cole, Mr. Ferrante was conservative in his
   language and did not offer opinions that overstated the underlying evidence. That makes his
   testimony more reliable, not less.
          Finally, Plaintiffs claim that because Mr. Ferrante relied on his professional experience to
   critique XBT’s practices and policies, his opinions must be “unreliable.” But, “[e]xperts have
   knowledge of the standards that govern their fields—that is part of what qualifies them as


   this Court excluded an expert who opined about the sufficiency of the evidence to prove an
   element of the case, thereby invading the province of the jury. Id. at *4. In that case, the expert
   had sought to offer literal “hypotheticals”— i.e., speculating about harm to a hypothetical
   plaintiff. There is nothing hypothetical about Mr. Ferrante’s Report, which details the specific
   technical data upon which it relies.
   13
     As discussed more fully in Defendants’ Daubert motion to exclude the testimony of Dr. Eric
   Cole (Dkt. 259), Dr. Cole repeatedly asserted that the statements in the Dossier were “false” and
   “defamatory,” despite admitting that he undertook no investigation to determine their truth or
   falsity (relying only on Plaintiffs’ say-so) and has no expertise in defamation. See Dkt. 259
   (Cole Daubert) at 3-4, 6, 8, 10. This is precisely the type of “advoca[cy] for a certain result in the
   guise of offering expert opinions” that is inadmissible. Bowe, 2015 WL 10857339, at *4.


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   experts.” Erickson v. Baxter Healthcare, Inc., 131 F. Supp. 2d 995, 1001 (N.D. Ill. 2001). For
   this reason, “there is no question that an expert may still properly base his testimony on
   professional study or personal experience.” Maiz, 253 F.3d at 669 (internal quotation marks
   omitted) (quoting Kumho Tire Co. v. Carmichael, 526 U.S. 137, 151 (1999)) (rejecting party’s
   claim that exert testimony was not reliable because it was “based largely on his personal
   experience rather than verifiable testing or studies”). Mr. Ferrante’s professional experience
   includes leading complex cyber-investigations and directing responses to malicious cyber-
   activity in the public and private sector, and he currently leads FTI’s practice providing expertise
   on “cybersecurity resilience, prevention, response, remediation, and recovery services.” Report
   at 2. There is no question that Mr. Ferrante’s experience permits him to testify about best
   practices within the industry in which he has worked at the highest levels for more than a decade.
          Moreover, Mr. Ferrante did not simply make a conclusory statement that XBT did not
   follow best practices; he identified specific statements by Bezruchenko and Goederich and
   identified the particular area of concern raised by each, in comparison to standard industry
   practices. See Report at 28-31.14 Similarly, Plaintiffs’ insistence that Mr. Ferrante cannot
   describe their contract-free arrangement with the customer identified as running the Methbot
   botnet on XBT servers as “highly unusual and risky” because he has not personally run a hosting
   company has no merit. Mr. Ferrante obviously has extensive experience with best practices
   regarding cybersecurity for tech companies, which include web-hosting companies. And even if
   he did not directly work with web-hosting companies, he is still entitled to testify “regarding
   narrow sub-topics within his broader expertise.” Remington, 2014 WL 505153, at *4. The lack
   of a contract with the Methbot customer only reinforces what Mr. Ferrante described as
   Plaintiffs’ “extremely suspicious” in connection with the Methbot fraud. Ex. 2 at 121:2-7.
          Accordingly, Mr. Ferrante’s methodology in reaching his conclusions is “sufficiently
   reliable” to be admitted. Frazier, 387 F.3d at 1260.
   III.   MR. FERRANTE IS QUALIFIED AS AN EXPERT
          Finally, Plaintiffs do not even appear to dispute the first of the Frazier factors – i.e. they
   do not challenge to Mr. Ferrante’s qualification as an expert. See, e.g., Passlogix, Inc. v. 2FA
   Tech., LLC, 708 F. Supp. 2d 378, 390 (S.D.N.Y. 2010) (computer forensics expert was qualified

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     Plaintiffs never asked Mr. Ferrante to provide additional detail about any of these opinions at
   his deposition.


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   under Daubert where he had “twelve years of law enforcement experience in computer crime
   forensics and three years of experience in private computer forensics” and taught classes on the
   subject). Nor could they: Mr. Ferrante is obviously qualified to testify on the subjects set forth in
   his expert report. As disclosed in his Report, Mr. Ferrante has “more than 15 years of top-level
   cybersecurity experience, providing incident response and preparedness planning to more than
   1,000 private sector and government organizations, including over 175 Fortune 500 companies
   and 70 Fortune 100 companies.” Report at 2; see also Ex. 20 (Ferrante CV, Report Ex. 1). Mr.
   Ferrante is currently the Senior Managing Director and Global Head of Cybersecurity at FTI
   Consulting, Inc. (“FTI”), where his consulting practice focuses on “cybersecurity resilience,
   prevention, response, remediation, and recovery services.” Id. In this role, Mr. Ferrante assists
   clients with both “proactive” and “reactive” cybersecurity services, including compliance with
   regulatory standards, breach response, and complex cyber-investigations. Mr. Ferrante testified
   that such investigations may “rang[e] from an audit of an organization to ensure that they are
   compliant with new defense regulatory requirements, an internal investigation to identify an
   insider threat, a cybersecurity incident that may have been facilitated by an internal or external
   actor, to after an incident would occur to reconstruct the events and determine what happened,
   how it happened, and who was responsible.” Ex. 2 at 7:20-13:22.
          Prior to joining the private sector, Mr. Ferrante served on the U.S. National Security
   Council as the Director for Cyber Incident Response, coordinating “U.S. response to unfolding
   domestic and international cybersecurity crises and issues.” Before that, he was Chief of Staff
   for the FBI’s Cyber Division, having joined the FBI in 2005 and served as a member of its
   “Cyber Action Team.” Mr. Ferrante has also taught as an adjunct professor of computer science
   at Fordham University’s graduate school, where he founded and co-directed the Masters of
   Science in the Cybersecurity Program and served as co-director of the cybersecurity research
   program. Report at 2; Ex. 20.
          As Plaintiffs implicitly concede by declining to challenge his qualifications, Mr. Ferrante
   is qualified to serve as an expert.
                                             CONCLUSION
          For the reasons set forth above, Defendants’ Daubert motion to exclude Anthony
   Ferrante should be denied in full.




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   Dated: October 29, 2018       Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing, together with its exhibits,
   will be served electronically by email on all counsel or parties of record on the service list below
   this 29th day of October, 2018.



                                                 By: /s/ Adam Lazier
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